                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

UNITED STATES OF AMERICA,                            )
                                                     )       Case No. DNCW3:09CR211-3
               vs.                                   )       (Financial Litigation Unit)
                                                     )
MITCHELL KEITH KLEINMAN.                             )

                                      WRIT OF EXECUTION

TO WELLS FARGO:

       A judgment was entered on January 12, 2011, in the United States District Court for the

Western District of North Carolina, in favor of the United States of America and against the

defendant, Mitchell Keith Kleinman, whose last known address is XXXXXXXXXXXXXX,

Newport Beach, CA, 92660, in the sum of $2,202,079.40. The balance on the account as of May

18, 2011, is $2,123,637.52.

       THEREFORE, YOU ARE HEREBY COMMANDED to levy and/or execute on property

and Wells Fargo is commanded to turn over property in which the defendant, Mitchell Keith

Kleinman, has a substantial nonexempt interest, the said property being funds located in Wells Fargo

accounts including, but not limited to, checking accounts, savings accounts and Individual

Retirement Accounts (IRAs), in the name of Mitchell Keith Kleinman, at the following address:

Wells Fargo, PO Box 8667, Philadelphia, PA 19101, Attention: Legal Order Processing.


                                                 Signed: May 24, 2011




    Case 3:09-cr-00211-RJC-DCK            Document 100        Filed 05/25/11      Page 1 of 1
